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   IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                 CENTRAL DIVISION
  AARON NEWMAN,                             :               COMPLAINT
                                            :
                Plaintiffs,                 :
                                            :
         v.                                 :
                                            :
  MANAGED LABOR SOLUTIONS,                  :
  and JOHN DOES I-V,                        : Civil No.:
                                            :
                Defendants.                 : Judge

               Aaron Newman, Plaintiff herein, complains of Managed Labor Solutions,

 (hereinafter “MLS”) and John Does I-V, Defendants herein, demands trial by jury and

 as and for causes of action against Defendants, alleges as follows:

                                        PARTIES

               1.     Plaintiff Aaron Newman (hereinafter referred to as “Mr.

 Newman”) is an individual who resides in the State of Utah.

               2.     On information and belief, Defendant Managed Labor Solutions

 (hereinafter “MLS”), is an entity doing business in the State of Utah, with a principal
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 place of business in the State of Utah at ____________________________, and a

 registered agent in the State of Utah at ____________________, upon whom civil

 process may be served.

               3.      Plaintiff alleges that, at all times relevant herein, MLS employed

 him as an employee.

               4.      John Does I-V are individuals. On information and belief,

 Plaintiff alleges John Does I-V are the owner and/or officers of MLS.

               5.      Plaintiff alleges that, at all times relevant herein during his

 employment with MLS, John Does I-V, exercised operational control over MLSand, at

 all times relevant herein, acted directly and indirectly in the interest of MLS in regards

 to Plaintiff’s employment.

               6.      Accordingly, Plaintiff alleges that each of John Does I-V acted as

 an “employer” in regards to Plaintiff within the meaning of the Fair Labor Standards

 Act (“FLSA”) and each is subject to personal liability to Plaintiff under the FLSA.

                              JURISDICTION AND VENUE

               7.      Plaintiff alleges that during his employment with MLS, MLS and

 John Does I-V violated his rights under the federal Fair Labor Standards Act of 1938,

 29 U.S.C. §201, et. seq., in that he worked over 40 hours a week on a regular basis, but

 was not paid wages at the overtime rate or even at his regular rate for the hours over 40


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 hours a week which he worked. Thus, Plaintiff brings this action to recover earned but

 unpaid overtime compensation, liquidated damages, attorney’s fees and costs, and

 other appropriate relief under the provisions of the federal Fair Labor Standards Act of

 1938, as amended, 29 U.S.C. § 201, et. seq. (hereinafter referred to as “FLSA”.)

 Jurisdiction is proper under 28 U.S.C. § 1331 (federal question). Venue is proper

 under 28 U.S.C. § 1391 because the Defendants reside in the federal district of Utah, or

 otherwise may be found within the federal district of Utah and the causes of action

 alleged herein occurred within the federal district of Utah.

                               STATEMENT OF FACTS

               8.     On information and belief, Plaintiff alleges that at all times

 material hereto, MLS was an “enterprise engaged in commerce” as that term is defined

 in 29 U.S.C. § 203 and, therefore, or otherwise, subject to the FLSA.

               9.     Plaintiff alleges he began working for MLS in early August 2017.

               10.    At all times relevant hereto, MLS employed Plaintiff as an

 employee on the basis of a mutual understanding and agreement whereby Plaintiff

 agreed to work for MLS, and MLS agreed to compensate Plaintiff in compliance with

 the FLSA and all other applicable federal, state and local laws and regulations.




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               11.    Ostensibly, Plaintiff’s position was that of lead supervisor, but, in

 reality, he had no authority and worked as a glorified foreman of a crew. MLS paid

 him at the rate of $14.00 per hour.

               12.    Plaintiff alleges he was not an independent contractor under the

 applicable Internal Revenue Code, Utah State Tax Commission, Utah Labor

 Commission and Utah Department of Workforce Services laws, regulations and rules,

 but, rather, was a bona fide, true, W-2 status, employee.

               13.    On information and belief, Plaintiff alleges he did not perform the

 duties of and MLS did not treat him as an administrative, executive or professional

 employee, as those terms are defined in the FLSA statute and regulations.

               14.    Plaintiff was not a highly paid employee, he did not have authority

 to hire and fire any employees, he did not have authority to make decisions regarding

 company objectives or strategy, he did not have authority to make decisions regarding

 hours, pay or discipline of any employees and was expected to work a regular work

 schedule every work day during the work week.

               15.    By reason of such employment, Plaintiff was employed by an

 enterprise engaged in commerce, within the meaning of the FLSA and, therefore, or

 otherwise, entitled to the coverage, protections and benefits of the FLSA.




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               16.    Thus, Plaintiff alleges he was a non-exempt employee and that the

 coverage scheme of the FLSA did not otherwise exempt him from entitlement to

 overtime compensation for any hours or parts of hours he worked over 40 hours a

 week.

               17.    Plaintiff alleges that, at all times relevant hereto, MLS assigned

 him to work for Advantage Rent A Car at the Advantage Rent A Car site near the Salt

 Lake City International Airport.

               18.    Starting in about the end of August 2017, James Murray, the

 General Manager of Advantage Rent A Car, approached Plaintiff and requested

 Plaintiff to wash the towels used to clean and ready rental cars. Plaintiff agreed to do

 so.

               19.    On information and belief, Plaintiff alleges Manny Martinez, his

 manager with MLS, was aware of Mr. Murray’s request to Plaintiff and Plaintiff’s

 agreement thereto and approved the same.

               20.    Thereafter, beginning on September 1, 2017, Mr. Newman

 personally spent many hours after regular work hours had ended, at night, on the

 weekends and at other times, washing these towels.

               21.    Mr. Newman asserts that all of such time spent washing and

 drying these towels, as well as transporting such towels, was work time. This washing


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 and drying of towels added several hours a week above and beyond the 40 hours per

 week he regularly worked.

              22.     Mr. Newman washed these towels at his own residence. Spending

 his own money for detergent, electricity and wear and tear on his personal washing

 machine and dryer.

              23.     On information and belief, Plaintiff alleges that, when MLS hired

 Jeff Lins in approximately October 2017 to work as the account manager with

 responsibility to manage the Advantage Rent A Car account, Mr. Lins also became

 aware of what Mr. Newman was doing and approved of it.

              24.     Thus, after employing Plaintiff on the basis set forth above, MLS

 knowingly requested, required, suffered and/or permitted Plaintiff to work hours in

 excess of 40 hours per week.

              25.     At all times relevant herein, Plaintiff regularly worked 10 to 20

 hours or more hours per work week above and in addition to the 40 hours per week he

 was regularly working.

              26.     Plaintiff alleges he typically worked between 7 to 9 hours during a

 work day, not counting the time spent washing and drying the towels. Plaintiff

 recorded his hours worked on a daily basis.




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              27.    Plaintiff kept track of his work hours, by filling out and turning in

 daily sheets to MLS’s payroll person or taking pictures and e-mailing his hours to

 Human Resources. Plaintiff’s records documenting the hours he worked were accurate

 and in accordance with the actual hours he worked. Plaintiff has attached a log

 showing such hours, which is attached hereto as Exhibit 1.

              28.    For such hours worked over 40 hours per work week, Plaintiff

 earned and MLS should have paid Plaintiff, time-and-a-half overtime wages or the

 equivalent of overtime wages or any wages at all for all hours he worked washing and

 drying towels over 40 hours per work week, but MLS did not pay Plaintiff any amount

 of wages for such work.

              29.    Thus, Plaintiff alleges that, beginning on and after September 1,

 2017, MLS knowingly required, suffered and/or permitted Plaintiff to work hours well

 in excess of 40 hours per week, but failed to pay Plaintiff overtime wages or the

 equivalent of overtime wages or any wages at all for any and all of the hours in excess

 of 40 hours per work week he worked.

              30.    In addition, Plaintiff alleges that, from time to time during the

 course of Plaintiff’s employment with MLS, Plaintiff raised concerns with MLS about

 being required to work many hours in excess of 40 hours per work week without

 getting paid overtime wages or the equivalent of overtime wages or any wages for such


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 hours in excess of 40 hours per work week. Plaintiff alleges that, by so doing, he

 engaged in protected activity, as that phrase is used in FLSA law. When Plaintiff

 would raise such concerns, Manny Martinez would tell him, “We’ll figure out how to

 pay you for this work”. Plaintiff kept telling Jeff Lins about what he was doing. Jeff

 Lins would tell Plaintiff, “I’m working on it”.

               31.    Despite having information and knowledge of Plaintiff working

 many hours in excess of 40 hours per work week without getting paid overtime wages

 or the equivalent of overtime wages or any wages for such hours, and, despite Plaintiff

 raising concerns and objections about working in excess of 40 hours per work week,

 but not being paid overtime wages or the equivalent of overtime wages or any wages

 for such hours. MLS and John Does I-V failed and have failed to pay Plaintiff

 overtime wages or the equivalent of overtime wages or any wages for any and all of the

 hours in excess of 40 hours per work week which Plaintiff worked for MLS, in

 violation of 29 U.S.C. §207 and 29 C.F.R. § 778.315 and 316.

               32.    Throughout September 1, 2017 through January 20, 2018, MLS

 continued to require, suffer or permit Plaintiff to work overtime hours, but failed to pay

 him overtime compensation for his overtime hours.

               33.    On or about January 23, 2018, Plaintiff informed MLS that, if

 MLS did not pay him for the time he had spent and was spending washing and drying


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 towels, he was going to contact the appropriate government agencies and file a claim

 for such wages.

               34.     A few days later, on January 29, 2018, MLS terminated Plaintiff’s

 employment with MLS. MLS gave Plaintiff no reason for the termination.

               35.     Plaintiff alleges such termination constitutes a wrongful

 termination, which has caused him financial damages, losses and other damages.

               36.     As and for causes of action against the Defendants, Plaintiff

 alleges as follows:

                                  CAUSES OF ACTION

                           FIRST CAUSE OF ACTION
                     BREACH OF CONTRACT — PAYMENT FOR
                        WASHING AND DRYING TOWELS

               37.     Plaintiff incorporates by this reference all allegations listed in

 paragraphs 1 through 36 above as if alleged in full herein.

               38.     Defendants had an arrangement with Plaintiff to pay him for

 washing and drying towels.

               39.     Plaintiff worked the hours set forth in Exhibit 1 washing and

 drying towels.

               40.     MLS has failed to pay him any amounts for such hours he worked.

               41.     Such failure constitutes a breach of contract.


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                42.    Such breach has caused Plaintiff loss, injury and damage.

                43.    MLS is liable to pay Plaintiff for the time he spent washing and

  drying towels.

                          SECOND CAUSE OF ACTION
                   FAILURE TO PAY OVERTIME WAGES OR THE
                     EQUIVALENT OF OVERTIME WAGES FOR
                          OVERTIME HOURS WORKED

                44.    Plaintiff incorporates by this reference all allegations listed in

  paragraphs 1 through 43 above as if alleged in full herein.

                45.    From approximately September 1, 2017 to January 20, 2018,

  Plaintiff worked approximately 10 to 20 or hours or more per work week for MLS.

                46.    Plaintiff worked all of such hours for MLS, but Defendants did

  not pay Plaintiff and have not paid Plaintiff time and a half overtime wages or the

  equivalent of overtime wages (or any wages) for any and all of such hours worked in

  excess of 40 hours per work week.

                47.    As alleged above, such failures to pay overtime wages or the

  equivalent of such overtime wages for such overtime work constitute violations of the

  FLSA.

                48.    Plaintiff estimates the amount owing to him for earned, but unpaid

  overtime wages or the equivalent of overtime wages from September 1, 2017 to

  January 20, 2018, based on his rate of pay and the hours in excess of 40 hours per work

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  week he worked, is the sum of approximately $5,257, calculated as follows:

  __________

                49.    At this point in time, Plaintiff can only allege approximate

  amounts of overtime compensation due to him because (a) Defendants may dispute the

  validity of his records and estimates concerning the number of hours Plaintiff was

  required, suffered or permitted to work each work week in excess of 40 hours per work

  week for which he has not been paid overtime wages or the equivalent of overtime

  wages; (b) other records which may be relevant to his work hours may be in the

  exclusive possession and control of Defendants or may have been altered or destroyed

  or no longer exist or never existed; and (c) Defendants may have not kept any records

  on the time Plaintiff spent washing and drying towels after regular work hours at his

  residence. Plaintiff hereby makes claims under the FLSA for whatever amounts of

  earned but unpaid overtime wages the facts and evidence as to his overtime work hours

  and rates of pay dictate.

                50.    On information and belief, Plaintiff alleges that the facts dictate

  the amounts of overtime wages set forth above.

                51.    On information and belief, Plaintiff alleges the failure on the part

  of Defendants to record the time Plaintiff spent washing and drying towels after regular

  hours at his residence and to pay Plaintiff overtime wages or the equivalent of overtime


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  wages for all of the hours he worked in excess of 40 hours per work week is

  intentional, willful, reckless and/or a product of deliberate indifference, entitling

  Plaintiff to claim up to three years of such earned but unpaid overtime wages and, if he

  is successful in establishing entitlement to overtime wages or the equivalent of

  overtime wages, to an award of an additional amount equal to the amount of overtime

  wages, found due as liquidated damages under the FLSA, 29 U.S.C. §216.

                52.    On information and belief, Plaintiff alleges such violations were

  willful on the basis of several facts and grounds, including, but not limited to: (1)

  Defendants knew, or should have known, that they needed to keep their time-keeping

  and compensation practices in compliance with the FLSA and other laws and

  regulations regulating the workplace; and (2) in failing to do so and to pay Plaintiff

  overtime wages or any wages at all for such work, Defendants showed reckless

  disregard for the requirements of FLSA and other laws and regulations regulating the

  workplace; and (3) MLS is a nationwide employer with thousands of employees

  working near airports around the country. It is a large, sophisticated employer, well

  aware of the need to comply with the FLSA; and (4) Plaintiff’s managers

  acknowledged that Plaintiff should not be doing this towel washing and drying work

  for free and were aware of the need to address Plaintiff’s claim, but never did so.

  Thus, Plaintiff alleges that Defendants deliberately required, permitted or suffered


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  Plaintiff to work many hours over 40 hours per work week and required him to

  perform work before and after normal business hours and knew he was doing so, and

  that they had an obligation to pay him wages and overtime wages or the equivalent of

  overtime wages for such hours he worked in excess of 40 hours per week, but,

  nevertheless, intentionally, knowingly or recklessly, failed to keep track of his work

  hours and failed to pay him overtime wages or the equivalent of overtime wages (or

  any wages at all) for any and all of the hours in excess of 40 hours per work week he

  worked.

                53.    Plaintiff also alleges that he engaged in protected activity, that,

  thereafter, Defendant terminated his employment and that there is a causal connection

  between his protected activity and the adverse action of termination.

                54.    Plaintiff also alleges that, to pursue his claims, he has been

  required to hire an attorney and, if he prevails, by settlement or otherwise, such

  attorney will be entitled to reasonable attorney’s fees and costs under the FLSA, 29

  U.S.C. §216 (b).

                              THIRD CAUSE OF ACTION
                                 ATTORNEY’S FEES

                55.    Plaintiff incorporates by this reference all allegations listed in

  paragraphs 1 through 54 above as if alleged in full herein.



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                 56.    In addition to attorney’s fees and costs recoverable under the

  FLSA, Mr. Newman makes a claim for reasonable attorney fees and court costs under

  Utah Code § 34-27-1, in that (a) during his employment with MLS, he asked MLS to

  pay him what it owed him for overtime compensation; (b) he has made a written

  demand for payment of what MLS owes him; (c) MLS has not paid Plaintiff any of

  such amount; and (d) Mr. Newman has waited the requisite period of time before filing

  the instant civil action.

                 57.    Accordingly, Mr. Newman makes a claim for reasonable

  attorney’s fees and costs under Utah Code § 34-27-1.

                                  PRAYER FOR RELIEF

                 WHEREFORE, on Plaintiff’s First Cause of Action, Plaintiff prays

  judgment be entered against Defendant joint and severally in the amount of $5,257 for

  Plaintiff for hours worked but not paid.

                 WHEREFORE, on Plaintiff’ Second Cause of Action, Plaintiff demands

  a trial by jury and prays that judgment be entered against Defendants, jointly and

  severally, together and individually, in the amount of approximately $5,257 for

  Plaintiff for overtime wages or the equivalent of overtime wages, or such lesser or

  greater amount as the facts as to the exact number of hours of overtime worked and

  exact rate of overtime pay, dictate, together with an additional amount, equal to the


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  amount of overtime wages found due, as liquidated damages, for the value of wages

  and benefits he has lost due to a retaliatory and wrongful termination and reasonable

  attorney’s fees and costs, all under the provisions of the Fair Labor Standards Act of

  1938, as amended, and such other legal and equitable relief as may be appropriate to

  effectuate the purposes of the FLSA.

                WHEREFORE, on Plaintiff’s Third Cause of Action, for reasonable

  attorney’s fees and court costs.

                DATED this 15th day of June, 2018.



                                             /s/ David J. Holdsworth
                                            David J. Holdsworth
                                            Attorney for Plaintiff




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                                         VERIFICATION

                Aaron Newman, being first duly sworn, upon his oath, deposes and says

  that he is the Plaintiff in the above-entitled action, that he has read the foregoing

  COMPLAINT and understands the contents thereof, and the allegations made therein

  are true of his own knowledge, except as to those matters alleged on information and

  belief which he believes to be true.



                                              /s/ Aaron Newman
                                             Aaron Newman


                SUBSCRIBED AND SWORN to before me, a Notary Public, this ____
  day of June, 2018.

                                             ___________________________________
                                             NOTARY PUBLIC

  MY COMMISSION EXPIRES:                     RESIDING AT: _____________________

                                             ___________________________________
